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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF ILLINOIS
                              BENTON DIVISION

                                                       Case No. 13-cv-479
Roslyn Gray and Kenneth Gray

       Plaintiffs,

v.                                                          NOTICE OF DISMISSAL
                                                              WITH PREJUDICE
Enhanced Recovery Company, LLC

       Defendant.

       Now comes Plaintiff, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

hereby dismisses the present action with prejudice. This notice is being filed before Defendant

has served an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                              RESPECTFULLY SUBMITTED,

                                              Lifetime Debt Solutions, LLC

                                              By:       /s/ Jeffrey S. Hyslip__
                                                    Jeffrey S. Hyslip
                                                    Attorney for Plaintiff
                                                    917 W. 18th Street
                                                    Suite 200
                                                    Chicago, IL 60608




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                                CERTIFICATE OF SERVICE

       I hereby certify that on 07/02/2013, I electronically filed the foregoing Notice. Service of

this filing will be made by the Plaintiff’s Counsel upon the following:


Ginny L. Rodriguez
Director of Compliance
Enhanced Recovery Company, LLC
8014 Bayberry Rd.
Jacksonville, FL 32256


                                                     /s/ Jeffrey Hyslip




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